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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )               Case No. 8:13CR43
                                           )
              v.                           )
                                           )        FINDINGS AND RECOMMENDATION
DAVID CODINA-RAMIREZ,                      )                 AND ORDER
                                           )
                     Defendant.            )


       At the conclusion of the hearing on October 15, 2013, on defendant’s Motion to
Suppress (#159), I stated my conclusions on the record and my decision to recommend that
the motion to suppress be denied. In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable John M. Gerrard, United States District
Judge, that the Motion to Suppress (#159) be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.     Pursuant to NECrimR 59.2, any objection to the magistrate's Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days after the
unredacted transcript is available to counsel. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the time
of filing such objection. Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 15th day of October 2013.

                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
